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             Case 2:21-cv-02292-BMS Document 1 Filed 05/19/21 Page 2 of 15
                         IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF PENNSYLVANIA
                      CASE MANAGEMENT TRACK DESIGNATION FORM
                                                    :                        CIVIL ACTION
                    Ray Anderson                    :
                         v.                         :
               Lowe's Home Centers, LLC             :
                                                    :                        NO.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )
(f) Standard Management – Cases that do not fall into any one of the other tracks.                  (X )


    5/19/2021                        Graham F. Baird                    Ray Anderson
Date                                Attorney-at-law                      Attorney for
    267-546-0131                     215-944-6124                       GrahamB@ericshore.com

Telephone                            FAX Number                          E-Mail Address


(Civ. 660) 10/02
                           Case 2:21-cv-02292-BMS Document 1 Filed 05/19/21 Page 3 of 15
                                                             UNITED STATES DISTRICT COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION            FORI"l
                     (to be used by counselor pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff:             590 Lower Landing Road, Apt 69E, Blackwood, NJ 08012                                                                                            _

AddressofDerendant                 1500 N. 50th Street, Philadelphia, PA 19131                                                                                                    __

                                                                 1500 N. 50th Street, Philadelphia, PA 19131


RELATED CASE, IF ANY:
Case Number:                                                 _     Judge:                                                  _    Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1.    Is this case related to property included in an earlier numbered suit pending or within one year
      previously terminated action in this court?                                                                                   -r                  NoDX


2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
      pending or within one year previously terminated action in this court?                                                        -r:                 NoDX


3.    Does this case involve the validity or infringement ofa patent already in suit or any earlier
      numbered case pending or within one year previously terminated action of this court?                                          -r                  NoDX


4.    Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
      case filed by the same individual?                                                                                            -r:                 NoDX


I certify that, to my knowledge, the within case            0 is / 0
                                                                   x is not       related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE:        5/19/2021                                  __                                                                           92692
                                                                            Attorney-at-Law / Pro Se Plaintiff                              Attorney J.D. # (if applicable)


CIVIL: (Place a .,j in one category only)

A.           Federal Question Cases:                                                          B.    Diversity Jurisdiction Cases:

o      1.    Indemnity Contract, Marine Contract, and All Other Contracts                     o     1.    Insurance Contract and Other Contracts
o      2.    FELA                                                                             o     2.    Airplane Personal Injury
o      3.    Jones Act-Personal Injury                                                        o     3.    Assault, Defamation
o      4.    Antitrust                                                                        o     4.    Marine Personal Injury
o      5.    Patent                                                                           o     5.    Motor Vehicle Personal Injury
o      6.    Labor-Management Relations                                                       o     6.    Other Personal Injury (Please specify):                             _
o
X      7.    Civil Rights                                                                     o     7.    Products Liability
o      8.    Habeas Corpus                                                                    o     8.    Products Liability - Asbestos
o      9.    Securities Act(s) Cases                                                          o     9.    All other Diversity Cases
o      10.   Social Security Review Cases                                                                   (Please specify):                                                     _
o      11.   All other Federal Question Cases
              (Please specify):                                                       _




                                                                             ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration.)

I,      Graham F. Baird                                      , counsel of record or pro se plaintiff, do hereby certify:



     D
     X        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of$150,000.00 exclusive of interest and costs:


     D        Relief other than monetary damages is sought.


DATE:          5/19/2021                               __                                                                                 92692
                                                                            Attorney-at-Law / Pro Se Plaintiff                             Attorney J.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

ct« 609 (512018)
            Case 2:21-cv-02292-BMS Document 1 Filed 05/19/21 Page 4 of 15




                           UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
                                      :
RAY ANDERSON                          :
590 Lower Landing Road                :
Apartment 69E                         :          JURY DEMANDED
Blackwood, NJ 08012                   :
                                      :
               Plaintiff,             :
                                      :
               v.                     :
                                      :          No.
LOWE’S HOME CENTERS, LLC              :
1500 N. 50th Street                   :
Philadelphia, PA 19131                :
                                      :
And                                   :
                                      :
LOWE’S HOME CENTERS, LLC              :
1000 Lowe’s Boulevard                 :
Mooresville, NC 28117                 :
                                      :
               Defendants.            :
____________________________________:_________________________________________

                                 CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

       1.       Plaintiff, RAY ANDERSON (hereinafter “Plaintiff”) is an adult individual

residing at the above address.

       2.       Defendant, LOWE’S HOME CENTERS, LLC (hereinafter “LHC”) is a business

corporation organized by and operating under the laws of the Commonwealth of Pennsylvania

and having a headquarters at the above captioned address.

       3.       Defendant, LOWE’S HOME CENTERS, LLC (hereinafter “LHC”) is a business

corporation organized by and operating under the laws of the State of North Carolina and having

a corporate headquarters at the above captioned address. Both Defendants are hereinafter

collectively referred to as “Defendants.”
            Case 2:21-cv-02292-BMS Document 1 Filed 05/19/21 Page 5 of 15




       4.       At all times material hereto, Defendant qualified as Plaintiff’s employer pursuant

to Title VII of the Civil Rights Act, the Americans with Disabilities Act and as defined under

Pennsylvania law.

       5.       This action is instituted pursuant to the United States Civil Rights Act, the

Americans with Disabilities Act and the Pennsylvania Human Relations Act.

       6.       Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

       7.       Supplemental jurisdiction over the Plaintiff’s state law claim is conferred pursuant

to 28 U.S.C. § 1367.

       8.       Plaintiff has exhausted his administrative remedies pursuant to the Equal

Employment Opportunity Act and the Pennsylvania Human Relations Act. (See Exhibit A, a

true and correct copy of a “right-to-sue” letter issued by the Equal Employment Opportunity

Commission.)

       9.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because Defendant conducts business in this district, and because a substantial part of the

acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.

Plaintiff was working in the Eastern District of Pennsylvania at the time of the illegal actions by

Defendant as set forth herein.

II. Operative Facts.

       10.      In or around 2006, Plaintiff was hired by Defendants as an Assistant Store

Manager working primarily at the store located at 1500 North 50th Street, Philadelphia, PA.

       11.      Plaintiff is an African-American man.
            Case 2:21-cv-02292-BMS Document 1 Filed 05/19/21 Page 6 of 15




        12.     On or about May 30, 2019, Plaintiff requested and was approved for an FMLA

leave due to anxiety and stress, conditions which were exacerbated by working in Defendant’s

West Philadelphia store location.

        13.     On or about July 29, 2019, Plaintiff returned to work and put in a request with

Defendant’s store manager, Janeen De Villava, to be transferred to another location as he had

attributed the worsening of his disability symptoms to working at that specific location.

        14.     On or about August 12, 2019, Plaintiff was informed by Ms. De Villava and

Defendant’s human resources business partner, Brandon Gurk, that due to “performance issues”

from approximately 2018, prior to Plaintiff taking his FMLA leave, he was ineligible for a

transfer.

        15.     On August 19, 2019, Plaintiff was placed on a ninety (90) day Performance

Improvement Plan (“PIP”) stemming from these purported pre-FMLA leave performance issues.

        16.     Plaintiff was subjected to heightened scrutiny following being placed on this PIP,

and was written up for issues that previously would not have resulted in written discipline, for

example, a subordinate leaving a cash-bag behind a never-used and non-working register.

        17.     On or about November 12, 2019, Plaintiff’s PIP was extended due to “not

performing” in the areas of the original PIP.

        18.     Plaintiff submitted a complaint to Defendant stating he believed this PIP and the

denial of his request for transfer were due to his race and in retaliation for a previous complaint

he had filed prior to his FMLA leave.

        19.     Upon information and belief, Plaintiff’s transfer request was denied while transfer

requests were expedited for other white co-workers, including one with unsatisfactory

performance.
          Case 2:21-cv-02292-BMS Document 1 Filed 05/19/21 Page 7 of 15




        20.     Defendant denied Plaintiff’s request for a transfer as a reasonable accommodation

for his diagnosed disability which was being exacerbated by the store location he was working

in.

        21.     Defendant refused to engage in a meaningful back and forth discussion toward the

development of an accommodation for Plaintiff’s disability.

        22.     Defendant denied Plaintiff’s transfer request while expedite white co-worker’s

requests for transfer.

        23.     At all times material hereto, Defendant was hostile to Plaintiff’s race, disability

and need for FMLA to manage the symptoms, and retaliated against him as a result of that

animus.

        24.     As a direct and proximate result of Defendant’s conduct toward Plaintiff, he

sustained great economic loss, future lost earning capacity, lost opportunity, loss of future wages,

as well emotional distress, pain and suffering and other damages as set forth below.

III. Causes of Action.

                         COUNT I – EMPLOYMENT DISCRIMINATION
                                   (42 U.S.C.A. § 2000e-2(a))

        25.     Plaintiff incorporates paragraphs 1-24 as if fully set forth at length herein.

        26.     Defendant took adverse action against Plaintiff by refusing his request for transfer

and placing him on a PIP.

        27.     Plaintiff’s status as an African-American man places him in a protected class.

        28.     Plaintiff’s membership in a protected class was a motivating factor in Defendants’

decision to refuse his request for transfer and place him on a PIP.

        29.     Plaintiff suffered disparate treatment by Defendant, as set forth above.
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        39.        As such, Defendant’s conduct toward Plaintiff is an unlawful employment

practice, under 42. U.S.C. § 2000e-2(a).

        40.        As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, pain and suffering, consequential damages and Plaintiff has also sustained work loss,

loss of opportunity, and a permanent diminution of earning power and capacity and a claim is

made therefore.

        41.        As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive damages.

        42.        Pursuant to the Civil Rights Act of 1964, 42 U.S.C. §2000e-2(a), et seq Plaintiff

demands attorneys fees and court costs.

                      COUNT II– AMERICANS WITH DISABILITIES ACT
                                 (42 U.S.C.A. § 12101 et seq)
                                   (Plaintiff v. Defendants)

        43.        Plaintiff incorporates paragraphs 1-42 as if fully set forth at length herein.

        44.        At all times material hereto, and pursuant to the Americans with Disabilities Act

of 1990, 42 U.S.C. §12101, et seq., an employer may not discriminate against an employee based

on a disability.

        45.        Plaintiff is a qualified employee and person within the definition of Americans

with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

        46.        Defendant is an “employer” and thereby subject to the strictures of the Americans

with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.
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         47.   At all times material hereto, Plaintiff had a qualified disability, as described

above.

         48.   As set forth above, Plaintiff was subjected to a hostile work environment due to

her aforementioned disability.

         49.   Defendant failed to accommodate or otherwise engage in a meaningful back and

forth towards the development of a reasonable accommodation.

         50.   Defendant’s conduct in refusing Plaintiff’s request for transfer as a reasonable

accommodation is an adverse action, was taken as a result of his disability and constitutes a

violation of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

         51.   As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, pain and suffering, consequential damages and Plaintiff has also sustained work loss,

loss of opportunity, and a permanent diminution of earning power and capacity and a claim is

made therefore.

         52.   As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive damages.

         53.   Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq

Plaintiff demands attorneys fees and court costs.

                  COUNT III – VIOLATION OF FMLA—RETALIATION
                                (29 U.S.C. §2601 et seq.)

         54.   Plaintiff incorporates paragraphs 1-53 as if fully set forth at length herein.

         55.   As set forth above, Plaintiff was entitled to medical leave pursuant to the FMLA,

29 U.S.C. §2601, et seq.
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       56.      As described above, Defendant refused a request for transfer and placed Plaintiff

on a PIP, an adverse action, in retaliation for him exercising his rights to take FMLA leave.

       57.      Defendant’s conduct toward Plaintiff was based, in part, upon his application and

utilization of FMLA leave.

       58.      As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, pain and suffering, consequential damages and Plaintiff has also sustained work loss,

loss of opportunity, and a permanent diminution of earning power and capacity and a claim is

made therefore.

       59.      As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive and/or liquidated damages.

       60.      Pursuant to the Family and Medical Leave Act of 1993, 29 U.S.C. §2601, et seq

Plaintiff demands attorneys fees and court costs.

                  COUNT IV - PENNSYLVANIA HUMAN RELATIONS ACT
                                43 Pa.C.S.A. §951, et seq.

       61.      Plaintiff incorporates paragraphs 1-60 as if fully set forth at length herein.

       62.      As set forth above, Plaintiff is disabled and a member of a protected class.

       63.      Defendants refused Plaintiff’s request for transfer and placed him on a PIP.

       64.      Plaintiff’s disability and membership in a protected class was a motivating factor

in Defendants’ decision to refuse his request for transfer and to place him on a PIP.

       65.      Plaintiff suffered disparate treatment by Defendant, as set forth above.

       66.      As such, Defendant violated the Pennsylvania Human Relations Act, 43 Pa.C.S.A.

§951, et seq.
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       67.       As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, pain and suffering, consequential damages and Plaintiff has also sustained work loss,

loss of opportunity, and a permanent diminution of earning power and capacity and a claim is

made therefore.

       68.       Plaintiff demands attorneys’ fees and court costs.

IV. Relief Requested.

       WHEREFORE, Plaintiff, RAY ANDERSON demands judgment in his favor and

against Defendants, LOWE’S HOME CENTERS, LLC, in an amount in excess of $150,000.00

together with:

       A. Compensatory damages, including but not limited to: back pay, front pay, past lost

             wages, future lost wages. Lost pay increases, lost pay incentives, lost opportunity, lost

             benefits, lost future earning capacity, injury to reputation, mental and emotional

             distress, pain and suffering

       B. Punitive damages;

       C. Attorneys fees and costs of suit;

       D. Interest, delay damages; and,

       E. Any other further relief this Court deems just proper and equitable.

                                                     LAW OFFICES OF ERIC A. SHORE, P.C.


                                                  BY:___________________________________
                                                      GRAHAM F. BAIRD, ESQUIRE

                                                       Attorney for Plaintiff, Ray Anderson
Date: 5/19/2021
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        EXH. A
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EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Ray Anderson                                                                       From    Philadelphia District Office
                                                                                              :
       590 Lower Landing Road                                                                     801 Market Street
       Apt. 69E                                                                                   Suite 1000
       Blackwood, NJ 08012                                                                        Philadelphia, PA 19107


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                    Telephone No.

                                                Legal Unit,
530-2020-00945                                  Legal Technician                                                       (267) 589-9707
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission

                                                                                                                     March 1, 2021
Enclosures(s)                                                                                                                (Date Issued)
                                                                 Jamie R. Williamson,
                                                                   District Director
cc:
           Charlene A. Gedeus, Esq.                                                       Graham F. Baird, Esq.
           BUCHANON INGERSOLL & ROONEY, PC                                                LAW OFFICES OF ERIC SHORE
           Two Liberty Place                                                              Penn Center, Suite 1240
           50 S. 16th Street, Suite 3200                                                  1500 JFK Boulevard
           Philadelphia, PA 19102                                                         Philadelphia, PA 19102
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Enclosure with EEOC
Form 161 (11/2020)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appro priate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix,        and         other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

 ➢ The limitations from the impairment no longer have to be severe or significant for the impairment to
   be considered substantially limiting.
 ➢ In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
   learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
   1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:
   functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
   genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
   hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
   within a body system.
 ➢ Only one major life activity need be substantially limited.
 ➢ With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
   measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
   considered in determining if the impairment substantially limits a major life activity.
 ➢ An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
   cancer) is a disability if it would be substantially limiting when active.
 ➢ An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
   months.

“Regarded as” coverage:
 ➢ An individual can meet the definition of disability if an employment action was taken because of an
    actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
    termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
    condition, or privilege of employment).
 ➢ “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
    limiting, or that the employer perceives the impairment to be substantially limiting.
 ➢ The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
    BOTH transitory (lasting or expected to last six months or less) AND minor.
 ➢ A person is not able to bring a failure to accommodate claim if the individual is covered only under the
    “regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
